,\,,.\

Case 3:17-Cr-00147-T.]C-PDB Document 11 Filed 08/10/17 Page 1 of 4 Page|D 14

??:-," d
UNITED sTATEs DIsTRIcT coURT ““"'U 405 /0 F,
MIDDLE DISTRlcT oF FLoRlDA H,§,SEA>H, 03 f‘»’ /.- 05
JAcKSoN\/'ILLE DIVIsIoN JALCE warng few
HS(]NV £/.C]` (),c~ ;,__[‘.-'5¢;:’;§
0/5` f/p/L;’FD)~,

UNITED STATES OF AMERICA

v. _ Case No. 3:17-cr- \LW'F’B$\PD@
Ct. l: 8 U.S.C. § 1324(a)(l)(A)(iv)
MIGUEL PACHECO-LOPEZ and (a)(l)(B)(ii)
INDICTM]ENT
The Grand Jury charges:
COUNT ONE

In or about May, 2017, in Duval County, in the Middle District of
Florida, the defendant,
MIGUEL PACHECO-LOPEZ,
did encourage and induce an alien, namely a minor child With the initials
S.M., to come to,, enter, and reside in the United States, knowing and in
reckless disregard of the fact tllat such Coming to, entry, and residence in the
United States Was in violation of laW.

In violation of Title 8, United States Code, Section 1324(a)(1)(A)(iv)

and (a)(l)(B)(ii)-

Case 3:17-Cr-00147-T.]C-PDB Document 11 Filed 08/10/17 Page 2 of 4 Page|D 15

FORFEITURES
l. The allegations contained in Count One are incorporated by
reference for the purpose of alleging forfeiture, pursuant to 8 U.S.C. § 1324(b),
18 U.S.C. § 982(a)(6), and 28 U.S.C. § 246l(c).
2. Upon conviction of a violation of 8 U.S.C. § 1324, the defendant
_ shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(6):

a. Any conveyance, including any vessel, vehicle, or aircraft,
used in the commission of the offense;

b. Any property, real or personal, that constitutes or is
derived from or is traceable to the proceeds obtained
directly or indirectly from the commission of the offense;
and

c. Any property, real or personal, used or intended to be used
to facilitate the commission of the offense

3. If any of the property described above, as a result of any act or

omission of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited With, a third
person;

c. has been placed beyond the jurisdiction of the Court;

Case 3:17-Cr-00147-T.]C-PDB Document 11 Filed 08/10/17 Page 3 of 4 Page|D 16

d. has been substantially diminished in value; or
e. has been commingled With other property Which cannot be
subdivided Withoui difficuliy,
the United States shall be entitled to forfeiture of substitute property pursuant

to 21 U.s.c. § 353(p), as incorporated by 18 U.s.c. §982(1>)(1).

A TRUE BILL,

\‘,Qv flaw

F 4 lperson

 

W. STEPHEN MULDROW
Acting United States Attorney

By: %;L_.\

'ARNOLD B. CORSMEIER
Assistant United States Attorney

By: /z;///%,

/FRANK TALBoT
Assistant United States Attorney
Chief, Jacksonvi]le Division

FORM OBD-34
APR 1991

Case 3:17-Cr-0014_7-T.]C-PDB Document 11 Filed 08/10/17 Page 4 of 4 PagelD 17

No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

THE UNITED STATES OF AMERICA
VS.

MIGUEL PACHECQ-LOPEZ

 

]NDICTl\/IENT

Violation: 8 U.S.C. § 1324(a)(l)(A)(iv) and (a)(l)(B)(ii)

 

A true bill,

§Q»{._/-i€/~/\

FH eperson

 

'\\\
Filed in open court this w day

of August, 2017.

Miwd»_i I>WLDWL

ClerH

 

Bail $

 

GPO 863 525

